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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,
          Plaintiff,

vs                                                       CASE NO: 3:02cr5-006

LEON CLARK,
           Defendant.
__________________________________________________/

                          ORDER REDUCING SENTENCE
       Before the Court is the Government's Rule 35 Motion advising that a reduction in
defendant's sentence may be warranted by his cooperation and substantial assistance since
his sentencing. The Court finds that a reduction is proper to reward his cooperation and
significant assistance to the Government in the investigation and prosecution of others.
       Defendant's sentence of confinement is, therefore, reduced from 120 months to 60
months.   In all other respects, the original sentence imposed in the Judgment and
Commitment Order signed 31 May 2002 shall remain unchanged.
       ORDERED this17th day of May 2005.



                                                        s /L.A. Collier
                                                       LACEY A. COLLIER
                                                   Senior United States District Judge
